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HUD 2015 ENTERPRISE ROADMAP
                                                              VERSION 6.0




Department of Housing and Urban Development
Office of the Chief Information Officer
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                                                HUD Enterprise Roadmap

production requirements across all of HUD      stemming from various statutory and
– at Headquarters, Regional, and Field         regulatory authorities, including the Fair
offices. Most notably, the Office of the       Housing Act, other civil rights authorities,
General Counsel (OGC) Office of Program        HUD’s program regulations, government-
Enforcement (OPE) is involved in ongoing       wide suspension and debarment
litigation with several institutions for       authorities, lead-based paint enforcement
conduct dating back as early as 2001. OPE      authorities, and the Davis-Bacon Act.
is working with the Department of Justice      However, these enforcement and
(DOJ) Civil Frauds Division and HUD-OIG on     compliance schemes include several
the Big Lender Initiative, which involves      common basic components, including
investigations into FHA loan origination       intake, investigation, settlement or
and underwriting by twenty of the largest      enforcement, and remedy.
FHA-approved lenders.
                                               6.2.3.9     Subsidies Management Segment
6.2.3.8.2    HUD Enforcement Management
             System                            6.2.3.9.1    Next Generation Management
                                                            System (NGMS)
HUD Enforcement Management System
(HEMS) will support the investigation of       The NGMS Initiative will provide a business
complaints or issues by the Office of Fair     solution to manage all facets of HUD’s
Housing and Equal Opportunity (FHEO),          rental assistance programs. Ultimately,
the Office of General Counsel’s (OGC)          NGMS will improve how housing
Department Enforcement Center, the             authorities and HUD work together in
Office of Lead Hazard Control and Healthy      providing affordable housing programs to
Homes (OLHCHH), and the Office of Field        citizens. The goal is to integrate disparate
Policy Management (OFPM). HEMS will            systems to simplify and enhance the user
consolidate the functionality in the           experience from all perspectives in order
following systems:                             to strengthen reporting and analysis
                                               capabilities for Rental Assistance programs
    FHEO Title Eight Automated Paperless      and allow PIH leadership to address noted
     Office Tracking System (TEAPOTS),         performance weaknesses. The new system
    OGC Enforcement Center Information        will support approximately 3,100 Public
     System (ECIS),                            Housing Agency (PHA) partners,
                                               administering over $20 billion in rental
    OGC Departmental Enforcement              assistance. It will incorporate the
     Center Management System (DECMS),
                                               functionality of the PIH Information
    OGC Enforcement Center Program            Center (PIC), Voucher Management System
     Compliance Information System             (VMS), and Enterprise Income Verification
     (ECPCIS),                                 (EIV) System, and other HUD rental
    OLHCHH Lead Enforcement Tracking          assistance programs.
     System (LETS), and
                                               6.2.3.9.2    Budget Formulation and Forecasting
    FPM Davis Bacon Labor Relations                        (BFF)
     system (LR 2000).
                                               This project will give HUD the ability to
The complaints and issues that are tracked     determine the annual budget request with
in HEMS will be processed under a variety      greater accuracy based on each PHA's
of enforcement and compliance schemes          capital fund grant, and by tracking units



    Transition to the Target State                                                        62
